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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

. A t# 2649
Holdings CREE

Total Holdings $3,927.43 $15,051.66 -$10,855.15 $20.45

All positions held in cash account unless indicated otherwise.

EAL Estimated Annual income (EAI) & Estimated Yield (EY)- EAI is an estimate of annual income for a specific security position over the next rolling 12 months. EAI may be negative on short
& EY positions. EY is calculated by dividing the current EAI for a security position by its statement closing date market value. EAI and EY are estimates only and may include return of principal
and/or capital gains, which would render ther overstated. Actual income and yield might be lower or higher than the estimated amounts. For calculation details, refer to the
"Additional Information and Endnotes” section.

Total Cost Basis does not include the cost basis on core. money market or other positions where cost basis is unknown or not applicable.

Activity

Securities Bought & Sold

Settlement Symbol/ . Total Transaction
Date Security Name CUSIP Description Quantity Price Cost Basis Cost Amount
01/22 META MATERIALS INC.COM 59134N104 You-Bought 1,028.000. $0.07350 - -$75.56
ISIN #US59134N1046 SEDOL #BKSCVX7 a
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Dividends, interest & Other Income a
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(includes dividend reinvestment) 5
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Settlement Symbol/ e
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PM WES TM ENTS January 1, 2024 - January 31, 2024

Activity Account ee

Other Activity In

Settlement Symbol/ Total Transaction
Date Security Name CUSIP ipti. ity Price Cost Basis Cost

01/29 META MATERIALS INC;COM 59134N104 Reverse Split ~1,500.000
ISIN US59134N1046 SEDOL BKSCVX7 1
FOR 100 R/S INTO META-MATERIALS INC
R/S TO: 59134N302 #REOR
MQ051559730000

Total Other Activity In - -

Other Activity Out

Settlement Symbol/ Total Transaction
Date Security Name CUSIP Description Quantity Price Cost Basis Cost Amount
01/29 META:- MATERIALSING COMNEW 59134N302 Reverse Split 15.000 - - -

ISIN #US59134N3026 SEDOL #BQ67J98 RIS
FROM $9194N104#REOR
M005 71559730007

Total Other Activity Out -

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Fees and Charges

MR_CE _BPWTSHBB

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Activity

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account # 2649

Core Fund Activity

For more information about the operation of your core account, please refer to your Customer Agreement.

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Cost basis and gain/loss information is provided as a service to our customers and is based on standards for filing US Federal Tax Returns as determined by Fidelity. This information is not

intended to address tax law or reporting requirements applicable in your country of tax residence.

FIFO (First-in, First-Out)

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Fidelity INVESTMENT REPORT

CN wesnaene January 1, 2024 - January 31, 2024

: A it # 8010
Account Summary ccoun i

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

* Account # 8
Holdings ad

Core Account

Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Value Total Gain/Loss EAI ($)/
Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Basis Jan 31, 2024 EY (%)

Stocks
Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Value Total Gain/Loss EAI ($) /
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Basis Jan 31, 2024 EY (%)

Common Stock

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ISIN #US59734N3026 SEDOL #BQ67J98
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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

. Account # 8010
Holdings Ee

All positions held in cash account unless indicated otherwise.

EAL Estimated Annual Income (EAI) & Estimated Yield (EY)- EAI is an estimate of annual income for a specific security position over the next rolling 12 months. EAI may be negative on short
& EY positions. EY is calculated by dividing the current EAI for a security position by its statement closing date market value. EAI and EY are estimates only and may include return of principal
and/or capital gains, which would render them overstated. Actual income and yield might be lower or higher than the estimated amounts. For calculation details, refer to the
“Additional information and Endnotes” section.

Total Cost Basis does not include the cost basis on core, money market or other positions where cost basis is unknown or not applicable.

Activity

Securities Bought & Sold

Settlement Symbol/ Transaction
Date Security Name cusiP Description Quantity Price Cost Amount
01/22 META MATERIALS:INC-COM 59734N104-- -You:Bought 125.000 $0.07390 - ~$9.24

ISIN #USS9134N1046 SEDOL #BKSCVX7

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Dividends, Interest & Other income

(includes dividend reinvestment)

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Fidelity INVESTMENT REPORT

EE EST MENTS January 1, 2024 - January 31, 2024

Activity a Account a.

Other Activity In

Settlement Symbol/ Transaction
Date Security Name CUSIP Description Quantity Price Cost Amount
01/29 META. MATERIALS INC COM §9134N104 Reverse Split -200.000 - - -

ISIN: US597134N1046 SEDOL:BKSCVX7 1
FOR 100 R/S INTO META MATERIALS INC
RIS TO. S8134N302 #REOR
0051559130000

Total Other Activity In - -

Other Activity Out

Settlement Symbol/ Transaction

Date Security Name CUSIP Description Quantity Price Cost Amount
01/29 META MATERIALS ING COM NEW 59134N302 Reverse Split 2.000 - - -

ISIN FUSSS1S4N3026 SEDOL #BQ67I98 R/S
FROM«58134N104 #REOR
MQ051559130001

Total Other Activity Out - -

Core Fund Activity

For more information about the operation of your core account, please refer to your Customer Agreement.

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account # 7210
Account Summary ccoun CS

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account os

Contributions and Distributions (continued)
This Period Year-to-Date
Reportable dist. - -

Holdings

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INVESTMENT REPORT
January 7, 2024 - January 31, 2024

. Account # 7210
Holdings RR
Stocks (continued)

Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Value Gain/Loss EAI ($}/
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Jan 31, 2024 EY (%)

Common Stock (continued)

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Holdings

Stocks (continued)

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account # 7210

Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Vaiue Gain/Loss EAI ($) /
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Jan 31, 2024 EY (%)

Common Stock (continued)

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

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Holdings
Stocks (continued)
Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Vaiue Gain/Loss EAI ($) /
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Jan 31, 2024 EY (%)

Common Stock (continued)

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META MATERIALS INC COMNEW
ISIN #US59134N3026 SEDOL #BQ67J98

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Holdings

Stocks (continued)

INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account # 7210

Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Value Gain/Loss EAI ($)/
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Jan 31, 2024 EY (%)

Common Stock (continued)

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INVESTMENT REPORT
January 1, 2024 - January 37, 2024

Holdings

Account # 7270

Stocks (continued)

Beginning Price Ending Unrealized
Market Value Quantity Per Unit Market Value Gain/Loss EAI ($) /
Description Jan 1, 2024 Jan 31, 2024 Jan 31, 2024 Jan 31, 2024 Cost Jan 31, 2024 EY (%)
Common Stock (continued)

itions held in cash account unless indicated otherwise.

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

. Account # 7210
Holdings [an

EAl E&stimated Annual Income (EAI) & Estimated Yield (EY)- EAI is an estimate of annual income for a specific security position over the next rolling 12 months. EAI may be negative on short
& EY positions. EY is calculated by dividing the current EAI for a security position by its statement closing date market value. EAI and EY are estimates only and may include return of principal
and/or capital gains, which would render them overstated. Actual income and yield might be lower or higher than the estimated amounts. For calculation details, refer to the
"Additional Information and Endnotes” section.

Total Cost does not include the cost basis on core, money market or other positions where cost basis is unknown or not applicable.
Activity

Securities Bought & Sold

Settlement Symbol/ Transaction

Date Security Name CUSIP Description Quantity Price Cost Cost Amount

01/22 META-MATERIALS INC:COM 59134N104 You.Bought 489.000 $0.07400 - -$36.19
ISIN #US59134N 1046 SEDOL #BKSCVX7

01/22 META MATERIALS INC COM 59134N104 You Bought “""3:077.000 0.07390

Hf 9434N1046 SEDO:

Dividends, Interest & Other Income

(Includes dividend reinvestment)

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INVESTMENT REPORT

PRVESTMENTS January 1, 2024 - January 31, 2024

Activity a ee

Other Activity In

Settlement Symbol/

Transaction

Date Security Name CUSIP Description Quanti cement FICE Cost _ Cost Amount

01/29 META-MATERIALS. INC.COM 59134N104 Reverse Split ~6,000.000 - - -

ISIN-USS9134N 1046: SEDOL BKSCVX7 4

FOR 100 R/SINTO META MATERIALS INC

RIS TO. 59134N302 #REOR

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Total Other Activity In - -
Other Activity Out
Settlement Symbol/ Transaction

Date Security Name CUSIP. Descrip eeepc Quantit __Price _. Cost Cost __ Amount

ot/29 META: MATERIALS ANG: COM NEW. 59134N302 Reverse Split 60.000 - - -
ISIN'#US59134N3026 SEDOL #BQ67J98 RIS
FROM 59134N104 #REOR
0051559130007

Total Other Activity Out

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Fees and Charges

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Activity

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Core Fund Activity

For more information about the operation of your core account, please refer to your Customer Agreement.

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INVESTMENT REPORT
January 1, 2024 - January 31, 2024

Account # 7219

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Fideli iD INVESTMENT REPORT

January 1, 2024 - January 31, 2024

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; Account # 7210
Estimated Cash Fiow (Rolling as of January 31, 2024) ee

This table presents the estimated monthly interest and dividend income and return of principal that your current holdings may generate over the next rolling 12 months.
The cash flows displayed are estimates provided for informational purposes only and there is no guarantee that you will actually receive any of the amounts displayed.
These estimates should not be relied upon for making investment, trading or tax decisions. The estimates for fixed income are calculated using the security's coupon
rate. The estimates for all other securities are calculated using an indicated annual dividend (IAD). The IAD is an estimate of a security's dividend payments for the next
12 months calculated based on prior and/or declared dividends for that security. [ADs are sourced from third party vendors believed to be reliable, but no assurance can
be made as to accuracy. There are circumstances in which these estimates will not be presented for a specific security you hold. Please refer to Help/Glossary on
Fidelity.com for additional information on these calculations.

Bond & CD Income includes interest payments for fixed and variable rate bonds, international bonds that pay in USD, and Certificates of Deposit (CDs).

Bond & CD Principal inciudes maturing principal payments for fixed and variable rate bonds, international bonds that pay in USD, and Certificates of Deposit (CDs).
Stock Income includes estimated dividend payments for common stocks, preferred stocks, ADRs, closed-end mutual funds, and MLPs.

ETP Income includes estimated dividend payments for Exchange Traded Funds (ETFs) and Exchange Traded Notes (ETNs).

Mutual Fund Income includes estimated dividend payments for Fidelity and non-Fidelity mutual funds.

Other Income includes, but is not limited to estimated dividend payments for Unit Investment Trusts (UITs), REITs, and LPs.

This table does not include cash flow from foreign denominated fixed income.

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Additional Information and Endnotes ee a toe

p Electronic Funds Transfer Notice: The following notice is required by the Bureau of Consumer Financial Protection's Regulation E and applies to electronic funds
transfers (EFTs) made by consumers. However, it doesn't apply to all EFTs. Generally, EFTs in nonretirement accounts, aside from those made for the purchase or
sale of securities, are subject to Regulation E (each a "Covered Transfer").

Error Resolution: In the case of errors or questions about a Covered Transfer, promptly call or write Fidelity using the contact information listed below. You must call or
write Fidelity if you think that your statement is wrong or if you need more information about a Covered Transfer on the statement. Fidelity must hear from you no later
than 60 days after Fidelity sent the FIRST statement on which the problem or error appeared. You will need to tell Fidelity your name and account number, describe
the error or Covered Transfer that you are unsure about, explain as clearly as you can why you believe that it is an error or why you need more information, and tell
Fidelity the dollar amount of the suspected error.

If you notify Fidelity orally, Fidelity may require that you send your complaint or question in writing within 10 business days. Fidelity will tell you the results of its
investigation within 10 business days of hearing from you and will correct any error promptly. if Fidelity needs more time, however, it may take up to 45 days to
investigate your complaint or question. If Fidelity decides to do this, it will credit your account within 10 business days for the amount you think is in error, so that you
will have the use of the money during the time it takes Fidelity to complete its investigation. If Fidelity asks you to put your request or question in writing and doesn't
receive it within 10 business days, or if your account is a brokerage account subject to Regulation T of the Board of Govemors of the Federal Reserve System (Credit
by Brokers and Dealers, 12 CFR 220), Fidelity may not credit your account.

For questions involving new accounts, or point-of-sale or foreign-initiated transactions, Fidelity may take up to 90 days to investigate your complaint or question. For
new accounts, Fidelity may take up to 20 days to credit your account for the amount you think is in error. Fidelity will inform you of the results of its investigation within
three business days of its completion. If Fidelity decides that there was no error, Fidelity will send you a written explanation. You may ask for copies of the documents
that Fidelity used in the investigation.

Contact Information: You can contact Fidelity by mail at Fidelity Investments, PO Box 770001, Cincinnati, OH, 45277-0002, or by phone at 800-544-6666.
707063.2.0

Estimated Annual Income (EAI) & Estimated Yield (EY) - EAI for fixed income is calculated using the coupon rate. For all other securities, EAI is calculated using an
indicated annual dividend (IAD). The IAD is an estimate of a security's dividend payments for the next 12 months calculated based on prior and/or declared dividends for
that security. EY reflects only the income generated by an investment and not changes in its price which may fluctuate. Interest and dividend rates are subject to change at
any time and may be affected by current and future economic, political and business conditions. EAl and EY are provided for informational purposes only and should not
be used or relied on for making investment, trading or tax decisions. EA] and EY are based on data obtained from information providers believed to be reliable, but no
assurance can be made as to accuracy, timeliness or completeness. Please refer to the Help/Glossary on Fidelity.com for additional information regarding these
calculations.

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January 1, 2024 - January 31, 2024

Additional Information and Endnotes a gum OS

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For more information about your statement, please refer to our Frequently Asked Questions document at Fidelity.com/statements .

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